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THoMAs s BETTs lNTERNATloNAL, iNc. Q$§<§l§§§ ‘31"@ §§§W
and THoMAS & BETTS CoRPoRATloN, `“ ‘
P|aintiffs,
v. Civi| Action No. 05-CV-2333 - lVla V

JOHN MEZZAL|NGUA ASSOC|ATES, INC.
d/b/a PPC, |NC.,

Defendant.

 

ORDER GRANT|NG UNOPPOSED MOT|ON OF DEFENDANT
FOR EXTENS|ON OF T||V|E TO F|LE RESPONS|VE PLEAD|NG

 

Before the Court is the unopposed lV|otion of defendant for an extension of time
within which to tile its pleading in response to the plaintifis’ Complaint. For good cause
shown, the Court grants the defendant’s Motion and the defendant shall have up to and

including August 3, 2005, within which to file its responsive pleading.

 

SO ORDERED.
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CERT|F|CATE OF SERV|C_Z§_

|, Char|es F. Newman, hereby certify that on this 20th day of Ju|y, 2005, a copy
of the foregoing document has been served, via U.S. |Vlail, postage prepaid, to the
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Honorable Samuel Mays
US DISTRICT COURT

